






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-08-00350-CV


____________________



RESCAR, INC., Appellant



V.



UNION TANK CAR COMPANY, Appellee 


										




On Appeal from the 172nd District Court


Jefferson County, Texas


Trial Cause No. E-179,635-B 






MEMORANDUM OPINION


	

	The appellant, Rescar, Inc., filed a motion to dismiss this appeal.  The motion is
voluntarily made by the appellant prior to any decision of this Court and should be granted. 
See Tex. R. App. P. 42.1(a)(1).  No other party filed notice of appeal.  The motion to dismiss
is granted and the appeal is dismissed.

	APPEAL DISMISSED.

							_____________________________

								STEVE McKEITHEN

								        Chief Justice


Opinion Delivered January 22, 2009

Before McKeithen, C.J., Gaultney and Horton, JJ.


